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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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 12     LYNETTE PENNINGTON,                        Case No. 2:17-cv-07004-JLS-SHK

 13                              Petitioner,
                                                   ORDER ACCEPTING FINDINGS
 14                        v.                      AND RECOMMENDATION OF
                                                   UNITED STATES MAGISTRATE
 15     D.G. ADAMS,                                JUDGE
 16                              Respondent.
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 18          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the
 19    relevant records on file, and the Report and Recommendation of the United States
 20    Magistrate Judge. The Court has engaged in de novo review of those portions of
 21    the Report to which Petitioner has objected. The Court accepts the findings and
 22    recommendation of the Magistrate Judge.
 23          IT IS THEREFORE ORDERED that the Petition be DENIED and that
 24    Judgment be entered dismissing this action with prejudice.
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 26    Dated: October 14, 2021
 27                                            HONORABLE JOSEPHINE L. STATON
                                               United States District Judge
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